
In re: Nathan Bradley, et al applying for Writs of Certiorari, Prohibition and Mandamus.
Writ granted. (See Order)
The petition of the relator in the above entitled and numbered case having been duly considered,
It is ordered that a writ of certiorari issue herein, directing the Honorable Donovan W. Parker, Judge of the Nineteenth Judicial District, Court for the Parish of East Baton Rouge, to transmit to the Supreme Court of Louisiana, on or before the 15th day of December, 1974, the record in duplicate, or a certified copy of the record in duplicate, of the proceedings complained of by the relator herein, to the end that the validity of said proceedings may be ascertained.
It is further ordered that the aforesaid Judge of said Court and the respondent through counsel shall show cause, in this court, on the 28th day of February, 1975, at 10 o’clock A.M., why the relief prayed for in the petition of the relator should not be granted.
